                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 LORENZO SUTTLES,                                     )
                                                      )
                Petitioner,                           )
                                                      )
 v.                                                   )       Nos.    1:01-CR-188-TRM-CHS-2
                                                      )               1:16-CV-279-TRM
 UNITED STATES OF AMERICA,                            )
                                                      )
                Respondent.                           )


                                   MEMORANDUM OPINION

        Federal prisoner Lorenzo Suttles (“Petitioner”) filed for post-conviction relief pursuant to

 28 U.S.C. § 2255 on October 5, 2009 [Doc. 225; E.D. Tenn. Case No. 1:09-cv-261-RAE].1 The

 Court denied that motion on March 27, 2015 [Docs. 250, 251]. On June 27, 2016, Petitioner

 filed a second pro se motion attacking the same criminal conviction—this time relying on

 Johnson v. United States, 135 S. Ct. 2551 (2015) [Doc. 260]. Review leads the Court to

 conclude counsel intended the filing to reach the Sixth Circuit as a successive petition.

        Under the “Antiterrorism and Effective Death Penalty Act of 1996,” Petitioner cannot file

 a second or successive § 2255 petition in the District Court until he has moved in the United

 States Court of Appeals for the Sixth Circuit for an order authorizing the District Court to

 consider the motion. 28 U.S.C. § 2255(h). No such order has been received by this Court.

 Accordingly, the Clerk will be DIRECTED to TRANSFER the filing [Doc. 260] to the United

 States Court of Appeals for the Sixth Circuit pursuant to 28 U.S.C. § 1631.




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  Each document will be identified by the Court File Number assigned to it in the underlying
 criminal case: E.D. Tenn. Case No. 1:01-cr-188-TRM-CHS-2.


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        To the extent Petitioner requests that this Court stay its ruling on his § 2255 motion until

 the Sixth Circuit can grant or deny leave to file that petition [Doc. 259], the Court notes that the

 limitation found in § 2255(h)(2) is jurisdictional, see United States v. Partin, No. 6:96-cr-63,

 2013 U.S. Dist. LEXIS 184124, at *6 (E.D.K.Y. Dec. 17, 2013) (noting that the pending petition

 was a successive petition under § 2255(f)(3) and concluding that the Court lacked “jurisdiction to

 assess the merits of [the] claims [therein]”), and thus it lacks authority to do anything but transfer

 the motion in accordance with § 1631. As such, the motion to stay [Doc. 259] will be DENIED.

        ORDER ACCORDINGLY.

                                                        /s/ Travis R. McDonough
                                                        TRAVIS R. MCDONOUGH
                                                        UNITED STATES DISTRICT JUDGE




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